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               EXHIBIT A
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Designation List Report




            Shekel, Tomer                            2022-11-22



            Sonos Aﬀirmatives                           00:06:25
            Google Counters                             00:03:54
            TOTAL RUN TIME                             00:10:19



            Documents linked to video:
            T125




                                                                     ID: Shekel_T
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DESIGNATION         SOURCE                                                              DURATION        ID

  7:11 - 7:14       Shekel, Tomer 2022-11-22                                             00:00:15   Shekel_T.1
                    7:11    Q. Hi, Mr. Shekel. Can you please state and
                    7:12       spell your name for the record, please.
                    7:13    A. My name is Tomer Shekel. T-O-M-E-R,
                    7:14       S-H-E-K-E-L.
 14:02 - 14:06      Shekel, Tomer 2022-11-22                                             00:00:26   Shekel_T.2
                    14:02   Q. And when did you start working at Google?
                    14:03   A. I started working on October 2013.
                    14:04   Q. And what was your title when you started
                    14:05      working at Google?
                    14:06   A. I was a product manager.
 14:07 - 14:13      Shekel, Tomer 2022-11-22                                             00:00:38   Shekel_T.3
                    14:07   Q. And how long did you hold that title?
                    14:08   A. Well, I -- I -- I'm still a product manager
                    14:09      in Google, so I'm still in the same type of work.
                    14:10      There's internal levels or -- kind of within it, like,
                    14:11      a product manager, senior product manager, and so
                    14:12      forth. And that aspect of the title, it changed, but
                    14:13      I'm still working as a product manager within Google.
 16:08 - 16:12      Shekel, Tomer 2022-11-22                                             00:00:27   Shekel_T.4
                    16:08   Q. Which products did you work on during your
                    16:09      time as a product manager of that team?
                    16:10   A. One of the projects was Cast Audio.
                    16:11   Q. What other products?
                    16:12   A. Another project was Chromecast Audio.
 16:18 - 16:22      Shekel, Tomer 2022-11-22                                             00:00:20   Shekel_T.5
                    16:18   Q. Any others?
                    16:19   A. I was involved in the Google Home product.
                    16:20   Q. Any others?
                    16:21   A. I was involved in the multi-room speaker
                    16:22      playback.
 17:01 - 17:02      Shekel, Tomer 2022-11-22                                             00:00:08   Shekel_T.19
                    17:01   A. I was involved in Media Focus and Voice
                    17:02      Sessions product or feature.
 17:16 - 17:21      Shekel, Tomer 2022-11-22                                             00:00:28   Shekel_T.20
                    17:16   Q. Did you work on any other products when you
                    17:17      were a product manager of that team?
                    17:18   A. Given, you know, my years there, and I was

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                   17:19       basically a veteran, meaning for multiple years, it
                   17:20       might be. It could have been that I worked with
                   17:21       others, but I don't recall them right now.
 29:12 - 29:24     Shekel, Tomer 2022-11-22                                           00:01:12   Shekel_T.21
                   29:12   Q. What is the diﬀerence between Cast for Audio
                   29:13       and Chromecast Audio?
                   29:14   A. Cast for Audio is a program that is meant to
                   29:15       bring the Google Cast technology -- that is the
                   29:16       technology that Chromecast, for example, is using --
                   29:17       to OEM devices, you know, speakers by third-party
                   29:18       speaker manufacturers.
                   29:19       Chromecast Audio is how the device we
                   29:20       developed within Google that also has -- it's not a
                   29:21       speaker. It's a device that connects into speakers,
                   29:22       and also the -- use the same technology of Cast.
                   29:23       There are other diﬀerences as well, but this
                   29:24       is conceptually a high-level diﬀerence.
 42:02 - 42:03     Shekel, Tomer 2022-11-22                                           00:00:05   Shekel_T.24
                   42:02   Q. And what was your first interaction with
                   42:03       Sonos as a company?
 42:04 - 42:08     Shekel, Tomer 2022-11-22                                           00:00:25   Shekel_T.27
                   42:04   A. I don't know if it was the first. I don't
                   42:05       remember if it was the first. But one early
                   42:06       interaction, at last, was prior to us meeting with
                   42:07       them in the context of Cast for Audio.
                   42:08   Q. Do you recall when that was?
 42:09 - 42:09     Shekel, Tomer 2022-11-22                                           00:00:05   Shekel_T.29
                   42:09   A. I -- I -- I think it was 2014.
 77:20 - 77:22     Shekel, Tomer 2022-11-22                                           00:00:20   Shekel_T.28
                   77:20   A. Yeah, it looks -- it looks -- it looks
                   77:21       similar. I -- I'd -- I'd say it looks similar to
                   77:22       maybe the presentation we presented to Sonos.
 78:07 - 78:22     Shekel, Tomer 2022-11-22                                           00:00:52   Shekel_T.25
                   78:07   Q. Can you turn to page 17 of this presentation,
     T125.17       78:08       please.
                   78:09   A. The -- the one named:
                   78:10       "Multi Zone Groups - C4A Device<->Group
                   78:11       relationship."
                   78:12   Q. The page before.
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DESIGNATION       SOURCE                                                          DURATION        ID
                  78:13   A. "Multi-Zone Groups."
                  78:14   Q. Yes.
                  78:15   A. Yes, I see the slide.
                  78:16   Q. What was meant by the term "multi-zone
                  78:17      groups"?
                  78:18   A. I was referring in multi-zone group to being
                  78:19      able to play music at the same time synchronously
                  78:20      across multiple zones or rooms. And there's a group
                  78:21      of speakers, so it's a Yukon speaker. So that will
      Clear       78:22      actually, you know, support this functionality.
 91:05 - 91:10    Shekel, Tomer 2022-11-22                                         00:00:24   Shekel_T.10
                  91:05      MR. GROSBY: Q. And when did Google develop
                  91:06      its own first-party multi-zone technology?
                  91:07   A. During 2015.
                  91:08   Q. So that was a er -- that was a er you
                  91:09      looked at other speaker manufacturers' implementations
                  91:10      of multi-zone technology; right?
 91:12 - 91:21    Shekel, Tomer 2022-11-22                                         00:00:30   Shekel_T.11
                  91:12      THE WITNESS: So I wouldn't say that I looked
                  91:13      at the implementation, but I used -- maybe I -- I
                  91:14      tried using multi-zone by few of the other
                  91:15      manufacturers.
                  91:16      So chronologically, at least for some of the
                  91:17      manufacturers, it happened before that we -- before we
                  91:18      launched it -- before we launched our own multi-room
                  91:19      solution.
                  91:20      MR. GROSBY: Q. And one of those was Sonos;
                  91:21      correct?
 91:23 - 92:02    Shekel, Tomer 2022-11-22                                         00:00:17   Shekel_T.12
                  91:23      THE WITNESS: We looked at Sonos and other
                  91:24      manufacturers' multi-room solution as part of our work
                  91:25      in Cast Audio, and that -- some of those looks or
                  92:01      trying those out happened before we launched our
                  92:02      multi-room solution.
 98:13 - 98:20    Shekel, Tomer 2022-11-22                                         00:00:19   Shekel_T.22
                  98:13   Q. Could a user create a group of speakers while
                  98:14      music is playing on those speakers?
                  98:15      MR. JUDAH: You're talking about the Cast for
                  98:16      Audio time period?

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                  98:17      MR. GROSBY: Yes. Same time period as this
                  98:18      conversation we've been having.
                  98:19      THE WITNESS: So can you repeat that again,
                  98:20      the question.
 98:21 - 98:22    Shekel, Tomer 2022-11-22                                             00:00:05   Shekel_T.13
                  98:21      MR. GROSBY: Q. Could a user create a group
                  98:22      of speakers while music was playing on those speakers?
 98:24 - 99:11    Shekel, Tomer 2022-11-22                                             00:00:37   Shekel_T.14
                  98:24      THE WITNESS: For just creating the group,
                  98:25      I'm assuming -- really, in fact, spec-wise, like, what
                  99:01      I defined, yes, you could create the group.
                  99:02      Regardless of the speaker playback status, you just
                  99:03      create a group. So they're now a part of another
                  99:04      group. But it does not matter, you know, if they are
                  99:05      playing right now or not in that group or any other
                  99:06      group, you know. But anyway, probably are not playing
                  99:07      that group, because he just created it. So regardless
                  99:08      of the playback status, you can create a group.
                  99:09      MR. GROSBY: Q. Would you say it's an
                  99:10      important feature for the music playback to not be
                  99:11      disturbed while you set up new groups?
 99:13 - 99:16    Shekel, Tomer 2022-11-22                                             00:00:10   Shekel_T.15
                  99:13      THE WITNESS: In my opinion, if by setting a
                  99:14      group, you'll now be stopping the music a person
                  99:15      played, that would not be a great experience for that
                  99:16      user.
109:11 - 109:13   Shekel, Tomer 2022-11-22                                             00:00:12   Shekel_T.16
    T125.18.1     109:11 Q. Okay. So turning back to slide 18 of
                  109:12     Exhibit 1255, would it be a poor user experience to
                  109:13     limit speakers to just one group?
109:15 - 109:22   Shekel, Tomer 2022-11-22                                             00:00:21   Shekel_T.17
                  109:15     THE WITNESS: In -- in our -- in our
                  109:16     approach, in the Google Cast approach, if we were to
                  109:17     have only option that every speaker can only be part
                  109:18     of one group, I -- I would think it's a -- it's a poor
                  109:19     user experience, yes.
                  109:20     MR. GROSBY: Q. Would it be a poor user
                  109:21     experience to kick speakers out of a prior group if
                  109:22     they're added to a new group?
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109:24 - 110:05   Shekel, Tomer 2022-11-22                                             00:00:23   Shekel_T.18
                  109:24     THE WITNESS: I feel -- or my opinion at that
                  109:25     time was that that would not be a good experience for
                  110:01     how Google Cast works, for the reasons I highlighted
                  110:02     before when you asked me about the benefits and why we
                  110:03     chose this one. So yes, that would not be a good
      Clear       110:04     experience, or it will be poor, maybe more
                  110:05     specifically.
139:09 - 139:11   Shekel, Tomer 2022-11-22                                             00:00:09   Shekel_T.38
                  139:09 Q. Did Google require users to download the
                  139:10     Google Home app onto users' smartphone devices in
                  139:11     order to set up and use Google speaker devices?
139:15 - 139:20   Shekel, Tomer 2022-11-22                                             00:00:27   Shekel_T.39
                  139:15     THE WITNESS: I don't know current status.
                  139:16     When I was working on the team, I'd say the Chromecast
                  139:17     or Chromecast audio as to Google devices, if it was a
                  139:18     Google -- if it's those two devices, you know, to set
                  139:19     it up, someone -- the person that wants to set it up
                  139:20     would need the Google Home app, you know.
140:03 - 140:04   Shekel, Tomer 2022-11-22                                             00:00:05   Shekel_T.40
                  140:03     MR. GROSBY: Q. In order to create speaker
                  140:04     groups, is the Google Home app required?
140:07 - 140:15   Shekel, Tomer 2022-11-22                                             00:00:39   Shekel_T.41
                  140:07     THE WITNESS: I don't know how it is today.
                  140:08     But when I was working on groups, if I want to say
                  140:09     Google Cast group or Cast technology group, I'm not
                  140:10     talking about any OEM groups that we discussed before,
                  140:11     you needed to have the Google Home app or the
                  140:12     Chromecast app or -- I don't remember the names as it
                  140:13     changed. You need to have an app that was used to set
                  140:14     up the -- the groups at that time when we launched
                  140:15     multi-room.



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                     TOTAL RUN TIME                                                  00:10:19



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